     Case 1:06-cr-00080-SOM-BMK   Document 1144    Filed 06/26/09   Page 1 of 7
                                  PageID.6360


                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CRIM. NO. 06-00080 (02) SOM
                              )
          Plaintiff,          )
                              )           ORDER DENYING SECOND MOTION
     vs.                      )           FOR NEW TRIAL
                              )
RODNEY JOSEPH, JR. (02),      )
                              )
          Defendant.          )
_____________________________ )

                ORDER DENYING SECOND MOTION FOR NEW TRIAL

I.           INTRODUCTION.

             On March 20, 2009, after 18 days of trial and 7 days of

jury deliberations, Defendant Rodney Joseph, Jr., was convicted

of various crimes.       See Verdict Form as to Defendant (02) Rodney

Joseph, Jr., (March 20, 2009) (Docket No. 1090).              On June 23,

2009, Joseph filed a second motion for new trial, arguing that

co-Defendant Matthew Taufetee, a Government witness, had lied to

the Government and this court.        Taufetee had previously pled

guilty and was convicted in this case.            As one of the terms of

his sentence, Taufetee was required to refrain from gambling.                     He

did not do so.

             In December 2008, Fituina F. Tua, a Senior United

States Probation Officer with this Court, apparently was told

that Taufetee had been gambling.         Tua contacted the Criminal

Intelligence Unit of the Honolulu Police Department and the

Federal Bureau of Investigation.         See Statement of Facts attached

to Request for Course of Action (May 8, 2009) (Docket No. 1118).
  Case 1:06-cr-00080-SOM-BMK   Document 1144    Filed 06/26/09   Page 2 of 7
                               PageID.6361


            On March 30, 2009, after Taufetee had testified against

Joseph and after the verdict was filed, Taufetee went to the

court’s Probation Office.      While there, he admitted that he had

violated the special condition of his sentence that he refrain

from gambling.    Taufetee told the court’s probation officer that

he had been gambling on a weekly basis, winning approximately

$20,000 since he had been sentenced.      Id.

            Joseph argues that, pursuant to Rule 33 of the Federal

Rules of Criminal Procedure, he is entitled to a new trial

because the Government violated his rights under Brady v.

Maryland, 373 U.S. 83 (1963).     Joseph says that because the FBI

was told that Taufetee might be gambling in December 2008, before

Taufetee testified in this case, the Government should have

disclosed to Joseph that Taufetee had possibly been violating a

term of his sentence.    This court is unpersuaded and denies

Joseph’s second motion for a new trial without a hearing.

II.         ANALYSIS.

            Rule 33(a) of the Federal Rules of Criminal Procedure

provides: “Upon the defendant’s motion, the court may vacate any

judgment and grant a new trial if the interest of justice so

requires.    If the case was tried without a jury, the court may

take additional testimony and enter a new judgment.”             The burden

of justifying a new trial rests with the defendant, see United

States v. Endicott, 869 F.2d 452, 454 (9th Cir. 1989), and a


                                    2
  Case 1:06-cr-00080-SOM-BMK   Document 1144   Filed 06/26/09   Page 3 of 7
                               PageID.6362


“motion for new trial is directed to the discretion of the

judge.”    United States v. Pimentel, 654 F.2d 538, 545 (9th Cir.

1981); accord United States v. Mack, 362 F.3d 597, 600 (9th Cir.

2004) (reviewing the denial of a motion for new trial under Rule

33(a) under an abuse of discretion standard).         “A district

court’s power to grant a motion for a new trial is much broader

than its power to grant a motion for judgment of acquittal,

United States v. Alston, 974 F.2d 1206, 1211 (9th Cir. 1992), as

a new trial may be granted by the district court when the

“interest of justice so requires.”      Fed. R. Crim. P. 33(a).

            The Ninth Circuit applies a five-part test for

determining whether a new trial should be afforded a defendant:

            “(1) [T]he evidence must be newly discovered;
            (2) the failure to discover the evidence
            sooner must not be the result of a lack of
            diligence on the defendant’s part; (3) the
            evidence must be material to the issues at
            trial; (4) the evidence must be neither
            cumulative nor merely impeaching; and (5) the
            evidence must indicate that a new trial would
            probably result in acquittal.”

United States v. Harrington, 410 F.3d 598, 601 (9th Cir. 2005)

(quoting United States v. Kulczyk, 931 F.2d 542, 548 (9th Cir.

1991)).1   Of course, the latter three factors are somewhat

duplicative.    See, e.g. United States v. Krasny, 607 F.2d 840,


     1
     This five-part test was reiterated in United States v.
Hinkson, 526 F.3d 1262, 1277 (9th Cir. 2008). The Ninth Circuit,
however, heard the Hinkson case en banc in December 2008 and a
decision is still pending. It is not clear to this court that
the test for a new trial was in issue before the en banc court.

                                   3
  Case 1:06-cr-00080-SOM-BMK   Document 1144   Filed 06/26/09    Page 4 of 7
                               PageID.6363


845 n.3 (9th Cir. 1979) (noting that “that the newly discovered

evidence be Material and that it Probably would produce an

acquittal on retrial, are really two means of measuring the same

thing”).

           The character of the defendant’s newly discovered

evidence determines how the probability requirement in the new

trial test is applied--a defendant is not entitled to a new trial

unless the evidence indicates that it is more probable than not

that the new trial will result in acquittal.        This rule applies

to newly discovered evidence that indicates that evidence

presented at trial may have been perjured or false.             See Krasny,

607 F.2d at 845.

           Joseph argues that this court should exercise its

discretion and grant him a new trial based on an alleged Brady

violation.    Joseph, however, fails to establish an entitlement to

a new trial under the applicable Ninth Circuit test.

           The court has little doubt that Joseph could establish

the first prong of the test--that the evidence was newly

discovered.   It does not appear that Taufetee’s gambling habit

was conclusively established until after the guilty verdict in

this case.    There is no reason that Joseph should have known that

the court’s probation officer had previously asked the FBI to

look into the matter.




                                   4
  Case 1:06-cr-00080-SOM-BMK   Document 1144   Filed 06/26/09   Page 5 of 7
                               PageID.6364


           Nor can there be any suggestion that Joseph lacked

diligence with respect to discovering Taufetee’s gambling

addiction--the second factor of the test.       There is no reason for

Joseph to have known what Taufetee was doing until long after the

trial.   Joseph filed his second motion for new trial within a

reasonable time after the matter became public.

           The problem with Joseph’s argument is that the evidence

of Taufetee’s gambling addiction does not satisfy the third,

fourth, and fifth prongs of the test.      That is, even assuming the

Government was required by Brady to tell Joseph that Taufetee was

gambling (a determination that this court is not making),

Taufetee’s violation of a term of his sentence is merely

impeaching evidence.    If that evidence were introduced at a new

trial, it is unlikely that the new trial would result in an

acquittal given the overwhelming evidence presented by the

Government.   As Joseph admits in his motion, Taufetee was only

“one of many key ‘insider’ witnesses who cooperated with the

[G]overnment in this case.”     Motion at 4 (emphasis added).          Even

if Joseph is correct in portraying Taufetee as a “unique offender

who was respected and trusted by other conspirators,” the

evidence of his gambling addition is not so great as to make an

acquittal of Joseph likely if he were granted a new trial.             The

evidence of Taufetee’s gambling addiction therefore fails to meet

the “materiality” prong of the test.


                                   5
  Case 1:06-cr-00080-SOM-BMK   Document 1144   Filed 06/26/09   Page 6 of 7
                               PageID.6365


          The court is not here ruling that impeaching evidence

could never be “material.”     As the Ninth Circuit has recognized,

newly discovered impeachment evidence could be so powerful that,

if believed, it would render a witness’s testimony incredible.

See United States v. Davis, 960 F.2d 820, 825 (9th Ci. 1992) (“In

some situations . . . , the newly-discovered impeachment evidence

may be so powerful that, if it were to be believed by the trier

of fact, it could render the witness’ testimony totally

incredible.    In such a case, if the witness’ testimony were

uncorroborated and provided the only evidence of an essential

element of the government’s case, the impeachment evidence would

be ‘material’ . . . .).    But here, even if the evidence would

have made Taufetee unbelievable, Taufetee was not so important a

witness that a rejection by the jury of his testimony would have

resulted in a different verdict.       The court’s recollection of

Taufetee’s testimony is that it was cumulative and corroborated

by other witnesses and was not the only evidence of any essential

element of the Government’s case.       This court disagrees with

Joseph’s characterization of evidence of Taufetee’s recent

gambling as “seriously cast[ing] doubt on the veracity of all of

the cooperating witnesses.”     The evidence would have tended to

impeach Taufetee, but certainly would not have impeached other

witnesses.    Because Joseph fails to satisfy the five-part test

for a new trial, he has failed to establish that a new trial is


                                   6
  Case 1:06-cr-00080-SOM-BMK     Document 1144    Filed 06/26/09   Page 7 of 7
                                 PageID.6366


required in the “interest of justice.”           Accordingly, his second

motion for a new trial is denied.

III.        CONCLUSION.

            For the foregoing reasons, Joseph’s second motion for a

new trial is denied.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, June 26, 2009.



                                           /s/ Susan Oki Mollway
                                          Susan Oki Mollway
                                          United States District Judge



United States of America v. Joseph, Crim. No. 06-00080 SOM (02); ORDER DENYING
SECOND MOTION FOR NEW TRIAL




                                      7
